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                 THE DISTRICT COURT OF THE VIRGIN ISLANDS
                           DIVISION OF ST. CROIX

_______________________________________________
                                                )
ST. CROIX RENAISSANCE GROUP, LLLP,              )
BROWNFIELD RECOVERY CORP. and ENERGY            )
ANSWERS CORPORATION OF PUERTO RICO              ) CIVIL NO. 2004/67
                                                )
                              Plaintiffs,       ) ACTION FOR BREACH
                                                ) OF CONTRACT,
      vs.                                       ) MISREPRESENTATION
                                                ) and NEGLIGENCE
ST. CROIX ALUMINA, LLC and ALCOA WORLD          )
ALUMINA, LLC,                                   )
                              Defendants.       )
________________________________________________)

      ST. CROIX ALUMINA, LLC’S AND ALCOA WORLD ALUMINA, LLC’S
      REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

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                                I.       PRELIMINARY STATEMENT1

        Plaintiffs’ concession that their fraud in the inducement claim is based entirely on

representations in the PSA dooms that claim unless this Court is willing to ignore Coram

Healthcare Corp. v. Aetna U.S. Healthcare, Inc., 94 F. Supp. 2d 589, 593 (E.D. Pa. 1999),2 as

well as other cases reaching the same result and this Court’s recent decision in Addie v. Kjaer,

2009 WL 453352 at *4 (D. V.I., Feb. 23, 2009). As demonstrated below, those cases involve

virtually identical factual situations and mandate dismissal of Plaintiffs’ fraud claim.

        Summary judgment on Plaintiffs’ breach of contract claim is also appropriate unless the

Court is willing to rewrite the PSA. In the context of a contract where Plaintiffs acquired the

Property in its “AS IS, WHERE IS condition, WITH ALL FAULTS” for a fraction of its original

cost, the language of the PSA cannot be given the expansive interpretation Plaintiffs seek.

Plaintiffs got exactly what they bargained for at the bargain basement price of $11 million -- a

property with known environmental conditions for which Plaintiffs agreed to assume the risk.

        Plaintiffs’ effort to reform or partially rescind the PSA is equally futile. In essence,

Plaintiffs again ask this Court to rewrite the parties’ agreement to allow them to keep the

Property but avoid their obligations under the PSA. The law simply does not afford Plaintiffs the

relief that they seek.

        Moreover, while Plaintiffs have exhausted much effort in crafting Plaintiffs’ Disputes As

to Defendants’ Statement of Undisputed Facts and Statement of Facts in Dispute (“Plaintiffs’

Facts”),3 this effort is wasted because Defendants’ motion presents three distinct legal issues: (i)

        1
           Defendants use herein the same terms as defined in their Statement of Undisputed Facts (“SUF”) and
Brief in Support of Motion for Summary Judgment (“Defendants’ Opening Brief”).
        2
            The Honorable Harvey Bartle, III decided Coram.
        3
            Because Plaintiffs’ Facts do not impact the disposition of Defendants’ motion for summary judgment,
Defendants have not undertaken here to refute each of those asserted facts. Defendants, however, do not agree with
those facts and if this case proceeds, Defendants will demonstrate the multiple and material inaccuracies in
Plaintiffs’ Facts.
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the application of the gist of the action doctrine to Plaintiffs’ tort claims; (ii) the interpretation of

an unambiguous contract; and (iii) the legal unavailability of Plaintiffs’ requested equitable

remedies on these facts. Simply put, the law and the plain language of the PSA dooms Plaintiffs’

claims. Summary judgment, therefore, in Defendants’ favor is appropriate on all counts.

                                              II.      ARGUMENT

A.       PLAINTIFFS’ FRAUD CLAIM SHOULD BE DISMISSED.

         1.       Virgin Islands Law Controls Plaintiffs’ Tort Claims.

         The laws of the Virgin Islands control Plaintiffs’ tort claims. Coram, 94 F. Supp. 2d at

593. The court’s reasoning in Coram shows that Plaintiffs’ reliance on § 201 of the Restatement

(Second) Conflict of Laws (“Restatement of Conflicts”) to support their assertion that Delaware

law applies to their tort claims is misplaced. Section 201 simply directs the Court to § 187 of the

Restatement of Conflicts.4 Faced with a choice of law provision virtually identical to the one

found here,5 the Coram court applied § 187 of the Restatement of Conflicts and held that the

contractual choice of law would not govern fraudulent inducement claims. Coram mandates the

same result in this case. 6

         Here, the PSA states that “[t]his Agreement shall be construed under the laws of the State

of Delaware, excluding those relating to conflicts or choice of law.” PSA ¶ 19, Ex. S (emphasis

         4
            Section 201 provides: “The effect of misrepresentation, duress, undue influence and mistake upon a
contract is determined by the law selected by application of the rules of §§ 187-188.”
         5
          The agreement in Coram provided, “This Agreement shall be governed by the laws of the State of
Delaware.”
         6
           Plaintiffs fail to address Coram, despite its unmistakable relevance. The reason is obvious: Plaintiffs
have no answer. Instead, Plaintiffs cite a Delaware case that stands alone and has no applicability in a conflict of
laws analysis in a Virgin Islands District Court. Coram is consistent with decisions of other jurisdictions --
including Delaware. See, e.g., Krock v. Lipsay, 97 F.3d 640, 645 (2nd Cir. 1996) (holding that the provision that the
contract would be “governed by and construed” under Massachusetts law, was not “sufficiently broad” to apply to
fraudulent misrepresentation claims); Brown v. SAP America, Inc., 1999 WL 803888 at *4-5 (D. Del. Sept. 13,
1999) (rejecting the argument that § 201 mandates application of the parties’ choice of law and applying the “most
significant relationship test” to the tort claims); Jiffy Lube Int’l, Inc. v. Jiffy Lube of Penn., Inc., 848 F.Supp. 569,
576 (E.D. Pa. 1994) (holding that the choice of law provision similar to the clause in this case would apply only to
construction, interpretation, and enforcement, not tort claims because it did not embrace “all aspects of the legal
relationship”).


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added). In Coram, this Court determined that such a provision controlled “only claims relating

to the construction and interpretation of the contract.” Coram, 94 F. Supp. 2d at 593. As

recognized in Coram, the intent of the parties as expressed in their agreement controls and a

narrow choice of law provision is intended to govern only the “rights and duties under the

contract itself.” Id.

         Because the parties chose not to “provide more broadly that [the choice of] law would

apply to tortious conduct that led up to the execution of the contract,” (id.), the choice of law

provision does not apply to Plaintiffs’ fraud in the inducement claim, and the Court must turn to

Restatement of Conflicts § 148, which applies to misrepresentation torts.7 The contacts with the

Virgin Islands are legion, and Plaintiffs advance no argument that another state has a more

compelling relationship to this transaction. Thus, under the Restatement of Conflicts and the

reasoning of Coram, the laws of the Virgin Islands govern Plaintiffs’ fraud claim.

         2.       The Gist of the Action Doctrine Bars Plaintiffs’ Fraud In the Inducement
                  Claim.

         In their Opposition, Plaintiffs concede that they rely only on the contractual

representations in the PSA as a basis for their fraudulent inducement claim. Plaintiffs’ Mem. at

15 n.17. Plaintiffs’ concession is fatal to their fraud claim because Virgin Islands law mandates

application of the gist of the action doctrine to bar a fraudulent inducement claim where the

allegedly fraudulent misrepresentations are written into the parties’ contract. Addie, 2009 WL

453352 at *4.

         Applying Virgin Islands law, the Addie court distinguished the case upon which Plaintiffs

principally rely -- Padalino, et al. v. Standard Fire Ins. Co., 616 F. Supp. 2d 538, 542 (E.D. Pa.

2008) -- and found that “‘promises made to induce a party to enter into a contract that eventually

         7
           Section 148(1) provides that “when the plaintiff's action in reliance took place in the state where the false
representations were made and received, the local law of this state determines the rights and liabilities of the parties”
unless another state has a more significant relationship with “the occurrence and the parties.”


                                                           3
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become part of the contract itself cannot be the basis for a fraud-in-the inducement claim under

the gist of the action doctrine,’” Id. (quoting Freedom Props., L.P. v. Lansdale Warehouse Co.,

2007 WL 2254422 (E.D. Pa. Aug. 3, 2007)) (emphasis added by Addie court) (other citations

omitted). This holding controls the result here because Plaintiffs concede that the representations

upon which they rely are part of the PSA.

       Application of the gist of the action doctrine to dispose of Plaintiffs’ fraud claim is

particularly appropriate given that SCRG, one of the Plaintiffs in this action, successfully relied

on that doctrine in its recent defense of a fraud claim. Bennington Foods, L.L.C. v. St. Croix

Renaissance Group, L.L.P., 2009 WL 2950490 at *10-11 (D. V.I. Sept. 8, 2009); SCRG’s

Memorandum in Bennington at 8 n.3.8                 In Bennington, this court dismissed fraudulent

inducement and negligent misrepresentation claims against SCRG because the contract in

question specifically addressed the subject matter of the alleged misrepresentations, holding that

the plaintiff’s remedy was “for breach of contract not fraudulent inducement to enter into to a

contract.” Id. Here, the case for application of the gist of the action doctrine is even more

compelling than in Bennington, because the subject matter of the alleged representations is not

merely addressed in the contract; the representations themselves are in the contract.

       Plaintiffs cite nothing that supports their claim that the gist of the action doctrine permits

fraud in the inducement claims based purely on representations written into the contract. Instead,

Plaintiffs rely upon Pennsylvania law that does not address situations in which the precontractual

representations were later woven into the contract itself. See Padalino, 616 F. Supp. 2d at 550

(applying Pennsylvania law and holding that the gist of the action doctrine did not preclude

plaintiff’s fraudulent inducement claims based on extra-contractual representations); Sullivan v.

Chartwell Investment Partners, L.P., 873 A.2d 710, 718 (Pa. Super. Ct. 2005) (same).


       8
           A copy of SCRG’s Memorandum in Bennington is attached as Ex. A.


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Moreover, Plaintiffs ignore that more recent cases applying Pennsylvania law have held that the

gist of the action doctrine will bar fraudulent inducement claims based on representations that are

incorporated into the contract between the parties. The Knit Witt v. Knitting Fever, Inc., 2009

WL 3427054 at *10 (E.D. Pa. Oct. 20, 2009) (because the seller’s representation was the

“bottom line” of an oral agreement, the buyer’s claims were barred by the gist of the action

doctrine); First United Bank & Trust v. PNC Financial Services Group, Inc., 2009 WL 3447284

at *3-4 (M.D. Pa. Oct. 21, 2009) (fraudulent inducement claims based on precontractual

representations that were later incorporated into the agreement were barred under the gist of the

action doctrine); Freedom Properties, L.P. v. Lansdale Warehouse Co. Inc., 2007 WL 2254422

at *6 (E.D. Pa. Aug. 2, 2007) (applying the gist of the action doctrine to bar a fraudulent

inducement claim based on a precontractual promise included in the lease agreement).

        3.     Even if Delaware Law Applies, Plaintiffs’ Fraud Claims Should Be
               Dismissed.

       Plaintiffs also ignore that Delaware courts applying principles akin to the gist of the

action doctrine consistently affirm that no independent tort action will lie when the alleged

tortious conduct arises out of or is inextricably related to the contract. See, e.g., McKenna v. The

Terminex Int’l Co., 2006 WL 1229674 at *3 (Del. Super. Mar. 13, 2006) (dismissing a

negligence claim because the complaint did not assert that the defendants had breached a duty

independent of their contractual obligations); Midland Red Oak Realty, Inc. v. Friedman, Billings

& Ramsey & Co., Inc., 2005 WL 445710 at *3 (Del. Super. Feb. 23, 2005) (“where an action is

based entirely on a breach of the terms of a contract between the parties, and not on a violation of

an independent duty imposed by law, a plaintiff must sue in contract and not tort”); Tristate

Courier and Carriage, Inc. v. Berryman, 2004 WL 835886 at *11 (Del. Ch. Apr. 15, 2004)

(dismissing a fraud claim because a breach of contract claim “cannot be ‘bootstrapped’ into a

fraud claim merely by adding the words ‘fraudulently induced’”); Pinkert v. Olivieri, 2001 WL


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641737 at *5 (D. Del. May 24, 2001) (misrepresentations that had been memorialized in the

contract cannot form the basis of an independent fraud in the inducement claim).

       Finally, Plaintiffs’ reliance on Abry Partners V, L.P. v. F. & W. Acquisition LLC, 891

A.2d 1032 (Del. Ch. 2006), is misplaced. The Abry court held that Delaware public policy

would not permit a seller to insulate itself from the possibility that a sale would be rescinded if

the buyer could show that the seller had intentionally misrepresented the facts on which the

parties had based the contract. Id. at 1036. The Abry court did not address the issue presented to

this Court of whether a plaintiff can turn a breach of contract claim into a fraud claim. Other

Delaware courts have specifically addressed this issue and resoundingly concluded that a

plaintiff cannot. See, e.g., Pinkert, 2001 WL 641737 at *5.

        4.     Conclusion.

       The gist of the action doctrine under Virgin Islands law and similar concepts under

Delaware and Pennsylvania law mandate dismissal of Plaintiffs’ fraudulent inducement claim

because Plaintiffs concede that such claim is premised solely on the representations in the PSA’s

warranty provisions and “nothing else -- nothing outside of the agreement.” Plaintiffs’ Mem. at

15 n.17. As a result, Plaintiffs’ remedy, if any, is for breach of contract, and Defendants are

entitled to summary judgment on Plaintiffs’ Count I.

B.     DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON
       PLAINTIFFS’ BREACH OF WARRANTY CLAIM.

        1.     The Proper Construction of the PSA.

       To construe the limited warranty provided to Plaintiffs in the PSA, Court must consider

the language of warranties in § 8.1 in light of the entirety of the parties’ agreement and its

context. See, e.g., O’Brien v. Progressive Northern Ins. Co., 785 A.2d 281, 287 (Del. 2001).

Although Plaintiffs largely ignore it, it is undisputed that Plaintiffs purchased the Property “in its

‘AS IS, WHERE IS’ condition, WITH ALL FAULTS, without representation, warranty or


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guaranty of any kind or nature, except to the extent specifically provided in Section 8.1 . . .”

PSA § 6.1, SUF ¶ 59, Exhibit S (emphasis in original). It is well settled that “‘the presence of

the ‘AS IS’ clause weighs in favor of narrowly construing the express warranties in the

Agreement of Sale.’” In re Sugarhouse Realty, Inc., 192 B.R. 355, 371 (E.D. Pa. 1996) (citation

omitted).

        Further context for the interpretation of the PSA is provided by the fact that Plaintiffs --

who are in the business of remediating environmentally challenged properties -- assumed the

responsibility for remediating the Property, and acquired it for a fraction of its original cost to

Defendants.9 The basis for the significantly discounted price was Plaintiffs’ agreement to buy

the Property “WITH ALL FAULTS” -- i.e. with all existing environmental conditions -- with

only the very limited exceptions identified in § 8.1 of the PSA.                            Plaintiffs’ distorted

interpretation of the PSA would turn the parties’ deal completely on its head, would effectively

strike the language “AS IS, WHERE IS condition, WITH ALL FAULTS” from the PSA and

would require that the very limited warranties provided in § 8.1 be construed as a broad-based

warranty of the Property’s environmental history. Simple rules of contract construction defeat

Plaintiffs’ argument because those rules require that each part of the parties’ agreement be given

meaning. See, e.g., O’Brien, 785 A.2d at 287 (recognizing the well established rule in Delaware

that a court should interpret a contract in such a manner as to give effect to each term of the

agreement and not in a manner that would render any provision illusory or meaningless).

         2.      The Limited Warranty of § 8.1.6.

        The proper construction of § 8.1.6 requires the Court to determine, in light of the context

set forth above, both what was warranted and what was excluded from that warranty. Section

8.1.6 narrowly provides -- except as disclosed on Exhibit 8.1.6 or in the Environmental Reports -

        9
           It is undisputed that Plaintiffs purchased the Property for $11,000,000, only seven years after Defendants
acquired it for $60,000,000. See SUF ¶¶ 9, 58.


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- that (1) Defendants had “received no written notice of any pending violation or alleged

violation of . . . [Environmental Law]” and (2) “to [Defendants’] knowledge there are no such

violations outstanding . . .” PSA § 8.1.6, SUF ¶ 64 (emphasis added). Plaintiffs, however,

attempt to transform this language into a broad warranty that (a) all historical environmental

events have been disclosed (i.e., alleged past releases of red mud), (b) every detail of an existing,

disclosed environmental problem was also disclosed; and (c) all work ever performed on the

Property was done in compliance with applicable permits. This is simply not what § 8.1.6 says,

particularly in the context of the parties’ overall agreement and relationship.

         The most obvious flaw in Plaintiffs’ argument is that that they give no meaning to the

word “such” in the last clause of § 8.1.6.             While Plaintiffs would prefer to transform the last

clause of § 8.1.6 into a broad new warranty, in context “such violations” can only refer to a

“pending violation or [an] alleged violation.” Thus, in § 8.1.6., Defendant SCA warranted only

that it had not received written notice of a pending or alleged violation of Environmental Law

and that to SCA’s knowledge no pending or alleged violation was outstanding other than those

disclosed. As discussed in detail in Defendants’ opening brief, the plain meaning of the words

employed in § 8.1.6 (“are,” “pending,” “alleged,” and “outstanding”) can lead only to one

interpretation of that section -- the limited scope of Defendants’ warranty was to unresolved but

asserted violations of Environmental Law not specifically disclosed. Importantly, Plaintiffs

make no substantive reply to these arguments.

         In any event, the matters about which Plaintiffs now complain were either excluded by

their disclosure in Exhibit 8.1.1 and/or the Environmental Reports or, as it relates to the issue of

a permit, were verbally disclosed to Plaintiffs and thus cannot serve as a basis for their claim.10


         10
            Although not listed in Exhibit 8.1.6 or discussed in the Environmental Reports, Plaintiffs cannot dispute
that they were told that Defendants did not have the permit in question. See SUF ¶ 51. In Plaintiffs’ Facts,
Plaintiffs state that the testimony showing Plaintiffs’ knowledge is taken “out of context” and then refer to ¶ ¶ 32-41
of Plaintiffs’ Facts. Those paragraphs, however, do not challenge or dispute what Plaintiffs were told about the
permit by Dr. Black. Because Plaintiffs knew that there was no permit, they cannot show that they relied on any

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In Exhibit 8.1.6, Defendants disclosed, and therefore excepted from § 8.1.6’s warranty, the

following: (1) Black’s April 17 Letter, which identifies the Red Mud Release; (2) the April 18,

2002 letter, which identifies elevated pH in the Alucroix Channel; and (3) Black’s May 22, 2002

letter, which identifies a seep of elevated pH in the Alucroix Channel. These are the only

matters that can be construed to be “pending or alleged” violations of Environmental Law at the

time of Closing. Since Defendants disclosed these issues, they are excluded from the limited

warranty in § 8.1.6, and the burden was on Plaintiffs to investigate them.

                  a.       The Alleged “Historical Events” Warranty. Plaintiffs argue that the scope

of the limited warranty in § 8.1.6 covers historical events at the current red mud disposal area,

asserting that Defendants warranted that there was only one release of red mud from the current

red mud disposal area. Such a reading is simply not possible in light of the plain language of the

warranty, which limits the warranty to a “pending violation or alleged violation” of which SCA

had written notice or knowledge.11 Moreover, it is undisputed that no regulatory authority had

asserted any pending or alleged violation of any permit related to the red mud disposal area at the

time of Closing.

                  b.       The Alleged Warranty “Regarding Details of Disclosed Issues”. With

respect to elevated pH in the Alucroix Channel, there undisputedly was an asserted violation of

Environmental Law set forth in the April 18 Order. Plaintiffs do not dispute that Defendants

alleged warranty that there was such a permit. A buyer whose investigation has “fully acquaint[ed] him with the
essential facts” cannot claim to have relied on warranties, even if the buyer believes that the warranty was
misleading. S.C. Johnson & Son v. Dowbrands, Inc., 111 Fed. Appx. 100, 107 (3d Cir. 2004) (citing Omar Oil &
Gas Co. v. MacKenzie Oil Co., 138 A. 392, 397 (Del. 1926)).
         11
            At p. 21 of their Opposition Brief, Plaintiffs assert that there had been multiple discharges of red mud
over the history of the Property that constituted violations of federal and local law. Plaintiffs, however, do not
identify the law that they claim was violated, which they must do in response to a motion for summary judgment.
See Fed. R. Civ. P. 56(e) (A party opposing summary judgment “may not rely merely on allegations or denials in its
own pleading; rather, its response must . . . set out specific facts showing a genuine issue for trial.”); Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 248-49 (1986) (noting the need for “significant probative evidence tending to
support the complaint” in order to survive summary judgment) (citation omitted). Further, if this case proceeds, the
evidence will show that the only release of red mud that ever reached the Caribbean Sea was the release that was
discovered in April 2002 and disclosed as an exception to Defendants’ warranty in Exhibit 8.1.6.


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disclosed the April 18 Order and Black’s May 22, 2002 Letter, which disclosed additional

elevated pH seeps that were reported to the DPNR pursuant to the April 18 Order.

Nevertheless, Plaintiffs complain that Defendants’ disclosure was not sufficient because they did

not provide Plaintiffs with a draft report prepared by NRCI related to the elevated pH and an

inspection of conditions of the Alucroix Channel.

         Notably, however, Defendants undertook no obligation to disclose the extent of the

violations or the status of any related investigations. The court in Sugarhouse examined similar

warranty provisions in the context of an “as is, where is” agreement and found that the failure to

disclose the quantity of an otherwise disclosed hazardous material was not a breach. 192 B.R. at

371. The reason for this is obvious -- one who buys property on an “as is, where is” basis has the

burden to investigate the property to its satisfaction, particularly as to matters of which it

becomes aware. See also Holly Hill Holdings v. Lowman 628 A.2d 1298, 1303 (Conn. 1993)

(holding that an “as is” clause shifts the burden of understanding the extent of the hazard to the

buyer). The key here is that existence of the pending violation related to the elevated pH was

disclosed to Plaintiffs. As discussed, such disclosure excluded this matter from the warranty;

however, in any event, the language of the PSA cannot be construed as a warranty that all

information in the possession of Defendants regarding the alleged violation was disclosed.

Instead, in the context of an AS IS, WHERE AS, WITH ALL FAULTS agreement, the burden

was on Plaintiffs to investigate matters disclosed to their satisfaction. 12

                   c.      The Alleged “Permit” Warranty. Plaintiffs’ distorted reading of § 8.1.6 is

also evident in their discussion of the permit related to Cell 7. In that section, Plaintiffs’ state

that “Alcoa’s warranty that there were no outstanding environmental violations would include a


         12
           In addition, Plaintiffs have attempted to paint the NRCI report as related to a wholly separate violation of
environmental law. It is clear in reading the NRCI report that it relates to the extent -- not the existence -- of the
previously disclosed pH incident.


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representation that there were no environmental violations of this permit, as a CZM permit

violation of environmental requirements is a violation of the ‘Environmental Law’ as defined by

§ 8.1.6.” Opp. Mem. at 29. However, Defendants did not warrant that all work had been done in

compliance with permits. Rather, Defendants warranted only that (i) other than as disclosed in

Exhibit 8.1.6 or the Environmental Reports, they had received no written notice of a “pending”

or “alleged” violation of Environmental Law and (ii) to Defendants’ knowledge no such

“pending” or “alleged” violation of Environmental Law was outstanding except as disclosed in

Exhibit 8.1.6 and the Environmental Reports. At the time of closing, there were no “pending” or

“alleged” violations of any CZM permit.

         3.      § 8.1.4 Provides Plaintiffs No Relief.

        Finally, Plaintiffs concoct a new breach of warranty theory, relying upon § 8.1.4.13 In so

doing, Plaintiffs fail to provide the Court with the entire text of § 8.1.4. That section provides:

                  [SCA] has made available to [Plaintiffs] copies of the
                  Environmental Due Diligence Assessment for St. Croix Alumina,
                  St. Croix, U.S. Virgin Islands entitled “Final Report to Alcoa
                  Corporation, Pittsburgh, Pennsylvania, USA,” dated August, 2001
                  and prepared by Arthur D. Little, Inc., Acorn Park, Cambridge,
                  Massachusetts 02140 - Reference: 74913 and the Geraghty &
                  Miller, Inc. Site Assessment Report for the subject property and
                  dated November, 1995 (collectively the “Environmental Reports”).
                  To [SCA’s] knowledge, there are no hazardous material on the
                  Property which violate any current applicable Federal, state or local
                  environmental laws or regulations, except as disclosed in Exhibit
                  8.1.4 attached hereto and made a part hereof, or in the
                  Environmental Reports.


PSA, § 8.1.4 (emphasis added).            Plaintiffs inexplicably ignore the language in § 8.1.4 that

excludes matters identified in the Environmental Reports.



        13
            In the Second Amended Complaint, Plaintiffs broadly reference breach of the “warranties set forth in
Section 8.1” (Second Amended Complaint, ¶ 21), but any fair reading shows that Plaintiffs allege violations of
§ 8.1.6, not § 8.1.4. For example, the list of alleged violations in ¶ 34 of the Second Amended Complaint makes no
mention of alleged undisclosed hazardous material under the old red mud ponds.


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         Those reports undeniably disclose the conditions that Plaintiffs now claim constitute a

violation of § 8.1.4. Area B is the old red mud ponds.14 The Environmental Reports, and in

particular the G&M Report, is replete with information concerning potentially hazardous

materials in the groundwater under and near those ponds. As set forth in detail in ¶ 43 of

Defendants’ Statement of Undisputed Facts, which Plaintiffs have not disputed, these reports

show that the wells in the vicinity of the old red mud ponds exceeded standards for pH, chloride,

fluoride, TDS, sulfate, aluminum, arsenic, molybdenum and selenium. SUF ¶ 43(c) & (d). The

G&M Report further states that “data reliably indicate that these constituents are a signature of

impacts to groundwater quality resulting from red mud disposal.” SUF ¶ 43(d). It is incredible

that Plaintiffs now point to § 8.1.4 to support their alleged breach of warranty claim when the

groundwater conditions and the potentially hazardous materials related to the old red mud

disposal area so clearly are addressed in the Environmental Reports and therefore excepted from

the warranty in § 8.1.4.

C.       DEFENDANTS DID NOT BREACH THE LETTER AMENDMENT.

         Plaintiffs defend their assertion that Defendants have breached the Letter Amendment of

June 13, 2003 by arguing that DPNR “has (rather emphatically) told Alcoa that this work

remains unfinished.” Plaintiffs’ Mem. at 29. This is, of course, irrelevant. Defendants expressly

reserved the right in the Letter Amendment, in Defendants’ sole discretion, to challenge any of

DPNR’s actions or findings. SUF ¶ 71. Defendants’ actions in challenging DPNR’s position,

therefore, can only be construed as an assertion of their rights expressly granted in the PSA and

cannot constitute repudiation or breach.




         14
            Though Plaintiffs introduce confusion by calling the area at issue “Area B,” they do not dispute that this
area is the location of the old red mud ponds. See ¶ 101 of Plaintiffs’ Disputes As To Defendants’ Statement of
Undisputed Facts and Statement of Facts in Dispute.


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D.     PLAINTIFFS ARE NOT ENTITLED TO EQUITABLE RELIEF.

       The law does not allow Plaintiffs to retain the Property with all of its economic benefit,

without providing the primary consideration it contracted to provide -- environmental

remediation of the Property. Whether Plaintiffs call it reformation, rescission, or “relief from

performance,” the unfairness of the result they seek is obvious; as a result, courts have uniformly

rejected such misguided efforts.

       First, reformation clearly is not available in this case because Plaintiffs do not seek

reformation in their Second Amended Complaint or explain in their Opposition why they are

entitled to it. Moreover, reformation is appropriate only when a contract requires correction “in

order to express the ‘real agreement’ of the parties involved.” Cerberus Int’l, Ltd. v. Apollo

Mgmt. L.P., 794 A.2d 1141, 1151-52 (Del. 2002). Here, Plaintiffs admit that the PSA is the

proper agreement between the parties but claim that Defendants induced acceptance of its terms

by fraud and breached the agreement. Breach of warranty and fraud in the inducement are not

grounds for reformation. See 27 Williston on Contracts § 69:55 (“if the contract agreed upon is

embodied in the writing, the fact that the agreement was induced by fraud is not ground for

reformation”).

       Second, partial rescission is not available to Plaintiffs, as “[e]ven a defrauded

complainant cannot accept the benefits received under a contract on the one hand and shirk its

disadvantages on the other.” Eastern States Petroleum Co. v. Universal Oil Products, 49 A.2d

612, 616 (Del. Ch. 1946). In Eastern States, the court stated that the goal of rescission was to

return the parties to their precontract status quo, and held that the plaintiff “cannot cause the

rescission of a contract in part and its approval in part, as self interest may dictate.” Id. In this

regard, Plaintiffs misstate Abry, arguing that it supports their assertion that they are entitled to

partial rescission. Opp. Mem. at 30–31. Abry does not address “partial rescission.” The

plaintiff in Abry sought full rescission of the contract, and the court simply held that such relief

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could be afforded on a showing of intentional fraud. 891 A.2d at 1034. Plaintiffs do not seek

full rescission of the PSA. 15

        Further, Defendants have not “repudiated” the contract, as Plaintiffs claim.

“[R]epudiation is an outright refusal by a party to perform a contract or its conditions entitling

‘the other contracting party to treat the contract as rescinded.’” Citisteel USA, Inc. v. Connell

Ltd. Partnership, 758 A.2d 928, 931 (Del. 2000) (citation omitted). When the conduct alleged to

be a repudiation involves one party’s interpretation of their rights or duties pursuant to a contract,

repudiation only occurs “when a party is ‘not asserting a good faith interpretation of the contract

terms’ and has ‘persistently demanded an unwarranted condition precedent to its required

performance.’” Pami-Lemb I Inc., et al. v. EMB-NHC, L.L.C., 857 A.2d 998, 1014 n.75 (Del.

Ch. 2004) (citation omitted) (emphasis added by Pami-Lemb court).

        The letters Plaintiffs claim constitute a repudiation do nothing more than inform Plaintiffs

of Defendants’ interpretation of the contract, concluding that Defendants owe no duty of

indemnification to Plaintiffs with respect to a January 2003 release of red mud. See Plaintiffs’

Ex. 115. The United States Supreme Court addressed a similar factual scenario and held that an

insurer’s assertion that it would no longer make payments to a policy-holder injured in an

accident on the grounds that it appeared to the insurer that the policy-holder was no longer

disabled did not constitute a repudiation. New York Life Ins. Co. v. Viglas, 297 U.S. 672, 675-76

(1936). Likewise, Defendants’ letters do not constitute a repudiation for which Plaintiffs are

entitled to end their ongoing obligations under the PSA. And, regardless of the label Plaintiffs

may seek to use, Plaintiffs are not entitled to equitable relief from their remaining obligations

under the PSA.


        15
            Moreover, as discussed more fully in Defendants’ Opening Brief, full rescission is not available here
because the parties cannot be returned to the status quo. Defendants’ Opening Brief at 27. Plaintiffs do not contend
otherwise because Plaintiff have entered into lease agreements related to the Property that prevent return to the
status quo.


                                                        14
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E.       PLAINTIFFS’ NEGLIGENCE CLAIM FAILS AS A MATTER OF LAW.

        Plaintiffs lean on the phrase “additional damages” in paragraph 57 of their Second

Amended Complaint to argue that their negligence claim relates to damages in an area “[w]ell

away from the area related to contract performance.” Opp. Mem. at 32-33. But a plain reading

of paragraph 57 demonstrates that the “additional damages” they seek arose from Defendants’

“actions in trying to remediate and correct the regraded red mud disposal area,” and not from any

other, independent actions by Defendants. Second Am. Compl. ¶ 57. Paragraph 19 of the

Second Amended Complaint makes clear that the June 13, 2002 letter amendment to the PSA is

the lone source of Defendants’ obligation “to clean up and correct problems resulting from the

release of red mud from the red mud disposal area.” Thus, any alleged damages attributable to

negligent actions in remediating the red mud disposal area are inextricably related to the parties’

contract, and, therefore, barred by the gist of the action doctrine. See Def. SJ Mem. § III(E)(1);

§ II(B), supra.16

                                           III.     CONCLUSION

        Plaintiffs cannot prevail on any of their claims in this litigation. The gist of the action

doctrine bars Plaintiffs’ fraud and negligence claims in the Virgin Islands, while the clear and

unambiguous meaning of the terms in the parties’ “as is, where is” agreement bar Plaintiffs’

breach of warranty claims. Because no material factual disputes remain, this Court should award

summary judgment on all counts.




        16
            To the extent that Plaintiffs now seek damages unrelated to the remediation work, Plaintiffs have not
pled that Defendants breached any independent duty aside from their obligations under the PSA. A plaintiff must
plead and prove the four basic elements of negligence: duty, breach, legal causation, and loss. See, e.g., Washington
v. Hovensa, L.L.C., 2008 WL 2697332 at *2 (D. V.I. July 3, 2008) (citations omitted). Nor have Plaintiffs attempted
to show that evidence will demonstrate that Defendants damaged the Property in breach of a non-contractual duty.
Plaintiffs must do more at the summary judgment phase than make bold, unsubstantiated assertions. See, e.g.,
Anderson, 477 U.S. at 248-49 (citation omitted).


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                                   Respectfully submitted,


November 20, 2009                  OGLETREE, DEAKINS, NASH, SMOAK &
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 20th of November, 2009, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notification of such

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